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                       IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF UTAH


SECURITIES AND EXCHANGE                                   ORDER GRANTING SECOND
COMMISSION,                                             INTERIM FEE APPLICATION FOR
                                                          RECEIVER AND RECEIVER’S
                      Plaintiff.                        PROFESSIONALS FOR SERVICES
                                                         RENDERED FROM APRIL 1, 2017
       V.                                                   THROUGH JUNE 30, 2017
TRAFFIC MONSOON, LLC and CHARLES                               2:16-cv-00832-JNP
DAVID SCOVILLE,
                                                           The Honorable Jill N. Parrish
                      Defendants.


       The matter before the Court is the Second Interim Fee Application for Receiver and

Receiver’s Professionals for Services Rendered From April 1, 2017 Through June 30, 2017

[Docket 105] filed by R. Peggy Hunt, the court-appointed receiver, seeking the allowance of fees

and expenses incurred by her; her counsel, Dorsey & Whitney LLP; and her accountants,

Berkley Research Group, for the period of April 1, 2017 through June 30, 2017 and authorization

to pay all allowed fees and expenses from funds of the receivership estate on an interim basis.

No objections to the fee application have been filed.

       The court has reviewed the fee application, all exhibits thereto, the record in this case,

and applicable law. The court approves the payment of the fees requested in the application.

       IT IS HEREBY ORDERED that:

       (1)     The fee application is APPROVED;

       (2)     The fees and expenses of R. Peggy Hunt and her professionals Dorsey & Whitney

LLP and Berkley Research Group are ALLOWED on an interim basis as set forth in the fee
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application;

       (3)     R. Peggy Hunt is ALLOWED a claim in the total amount of $28,885.00 for fees;

       (4)     Dorsey & Whitney LLP is ALLOWED a claim in the amount of $43,234.50 for

fees and $525.55 for reimbursement of out-of-pocket expenses, for a total sum of $43,760.05;

       (5)     Berkley Research Group is ALLOWED a claim in the amount of $96,740.00 for

fees and $51.33for reimbursement of out-of-pocket expenses, for a total sum of $96,791.33; and

       (6)     R. Peggy Hunt is AUTHORIZED to pay all fees and expenses as allowed herein.

       DATED October 23, 2017.



                                                   BY THE COURT:



                                                   ____________________________________
                                                   The Honorable Jill N. Parrish
                                                   United States District Court




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